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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

DEBORAH VANHORN,

       Plaintiff,

v.                                                               Case No: 8:18-cv-937-T-36JSS

CENTENE MANAGEMENT COMPANY,
LLC, SUNSHINE STATE HEALTH
PLAN, INC. and SUNSHINE HEALTH,

       Defendants.


                    CASE MANAGEMENT AND SCHEDULING ORDER

       Having considered the Case Management Report prepared by the parties, see Fed. R. Civ.

P. 26(f) and Local Rule 3.05(c), the Court enters this Case Management and Scheduling Order:

 Mandatory Initial Disclosures                                                JULY 6, 2018

 Certificate of Interested Persons and Corporate Disclosure                      Completed
    Statement
 Motions to Add Parties or to Amend Pleadings                              AUGUST 6, 2018

 Disclosure of Expert Reports
                                                            Plaintiff:       APRIL 5, 2019
                                                          Defendant:         MAY 10, 2019
 Discovery Deadline                                                           JUNE 7, 2019

 Dispositive Motions, Daubert, and Markman Motions                            JULY 5, 2019

 Meeting In Person to Prepare Joint Final Pretrial Statement             OCTOBER 11, 2019

 Joint Final Pretrial Statement , (including a Single Set of Jointly-    OCTOBER 22, 2019
     Proposed Jury Instructions and Verdict Form [a Word or
     WordPerfect® version may be e-mailed to the Chambers
     mailbox] Voir Dire Questions, Witness Lists, Exhibit Lists
     with Objections on Approved Form)
 All Other Motions Including Motions In Limine                           OCTOBER 29, 2019
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 Final Pretrial Conference
                                                                    Date:      NOVEMBER 12,
                                                                    Time:                  2019
                                                                   Judge:              3:15 PM
                                                                              Charlene Edwards
                                                                                     Honeywell
                                                                                Courtroom 13A
 Trial Briefs and Deposition Designations                                       NOVEMBER 5,
                                                                                           2019
 Trial Term Begins                                                           DECEMBER 2, 2019

 Estimated Length of Trial                                                                  2-3 days

 Jury/Non-Jury                                                                                  Jury

 Mediation
                                                              Deadline:             JUNE 7, 2019
                                                              Mediator:             Mark Hanley
                                                               Address:           100 N Tampa St
 Designated Lead Counsel shall contact                                                 Suite 2200
 opposing counsel and the mediator to                                           Tampa, FL 33602
 reserve a conference date and shall file
 a Notice with the Court within 14 days
 of this Order advising of the date.
                                                             Telephone:               813-229-3333

 Designated Lead Counsel                               Attorney Name:          Donna L. DeConna
 Pursuant to Local Rule 9.04(a)(3)
 Lead Counsel Telephone Number                     Telephone Number:                  813-224-9100


       The purpose of this order is to discourage wasteful pretrial activities, and to secure the just,

speedy, and inexpensive determination of the action. See Fed.R.Civ.P. 1; Local Rule 1.01(b). This

order controls the subsequent course of this proceeding. Fed.R.Civ.P. 16(b), (e). Counsel and all

parties (both represented and pro se) shall comply with this order, with the Federal Rules of Civil

Procedure, with the Local Rules of the United States District Court for the Middle District of

Florida, and with the Administrative Procedures for Case Management/Electronic Case Filing. A

copy   of    the   Local   Rules    and    Administrative     Procedures     may    be    viewed     at

http://www.flmd.uscourts.gov.      Counsel shall also comply with the Ideals and Goals of

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Professionalism adopted by the Board of Governors of the Florida Bar on May 16, 1990 available

at www.floridabar.org (Professional Practice - Henry Latimer Center for Professionalism); Local

Rule 2.04(g).1

I.         DISCOVERY

        A.      Certificate of Interested Persons and Corporate Disclosure Statement – This
Court has previously ordered each party, governmental party, intervenor, non-party movant, and
Rule 69 garnishee to file and serve a Certificate of Interested Persons and Corporate Disclosure
Statement using a mandatory form. No party may seek discovery from any source before filing
and serving a Certificate of Interested Persons and Corporate Disclosure Statement. A motion,
memorandum, response, or other paper – including emergency motion – may be denied or stricken
unless the filing party has previously filed and served a Certificate of Interested Persons and
Corporate Disclosure Statement. Any party who has not already filed and served the required
certificate shall do so within fourteen (14) days from the date of this order, or sanctions will be
imposed.

       B.       Discovery Not Filed - The parties shall not file discovery materials with the Clerk
except as provided in Local Rule 3.03(e). The Court encourages the exchange of discovery requests
on diskette or by e-mail.

        C.      Limits on Discovery - Absent leave of Court, the parties may take no more than
ten depositions per side (not per party). Fed. R. Civ. P. 30(a)(2)(A); Fed. R. Civ. P.31(a)(2)(A).
Absent leave of Court, the parties may serve no more than twenty-five interrogatories, including
sub-parts. Fed. R. Civ. P. 33(a). Absent leave of the Court or stipulation by the parties, each
deposition is limited to one day of seven hours. Fed. R. Civ. P.30(d)(2). The parties may agree by
stipulation on other limits on discovery within the context of the limits and deadlines established
by this Case Management and Scheduling Order, but the parties may not alter the terms of this
Order without leave of Court. See, e.g., Fed. R. Civ. P. 29.

       D.     Discovery Deadline - Each party shall timely serve discovery requests so that the
Rules allow for a response prior to the discovery deadline. The Court may deny as untimely all
motions to compel filed after the discovery deadline.

        E.       Disclosure of Expert Testimony - On or before the date set forth in the above table
for the disclosure of expert reports, the party shall fully comply with Federal Rule of Civil
Procedure 26(a)(2) and 26(e). Expert testimony on direct examination at trial will be limited to
the opinions, bases, reasons, data, and other information disclosed in the written expert report
disclosed pursuant to this Order. Failure to disclose such information may result in the exclusion
of all or part of the testimony of the expert witness.

       F.      Confidentiality Agreements - The parties may reach their own agreement
regarding the designation of materials as “confidential.” There is no need for the Court to endorse

     1   See also procedures for the presiding district judge found under Judicial Information at www.flmd.uscourts.gov

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the confidentiality agreement. The Court discourages unnecessary stipulated motions for a
protective order. The Court will enforce stipulated and signed confidentiality agreements. Each
confidentiality agreement or order shall provide, or shall be deemed to provide, that “no party shall
file a document under seal without first having obtained an order granting leave to file under seal
on a showing of particularized need.” See also “Motions to File Under Seal” below.

II.    MOTIONS

         A.      Certificate of Good Faith Conference - Before filing any motion in a civil case,
the moving party shall confer with the opposing party in a good faith effort to resolve the issues
raised by the motion, and shall file with the motion a statement certifying that the moving party
has conferred with the opposing party, and that the parties have been unable to agree on the
resolution of the motion. Local Rule 3.01(g). A certification to the effect that opposing counsel
was unavailable for a conference before filing a motion is insufficient to satisfy the parties'
obligation to confer. See Local Rule 3.01(g). No certificate is required in a motion for injunctive
relief, for judgment on the pleadings, for summary judgment, to dismiss or to permit maintenance
of a class action, to dismiss for failure to state a claim upon which relief can be granted, or to
involuntarily dismiss an action. Local Rule 3.01(g). Nonetheless, the Court expects that a party
alleging that a pleading fails to state a claim will confer with counsel for the opposing party before
moving to dismiss and will agree to an order permitting the filing of a curative amended pleading.
Fed. R. Civ. P. 15. The term "counsel" in Rule 3.01(g) includes pro se parties acting as their own
counsel, thus requiring movants to confer with pro se parties and requiring pro se movants to file
Rule 3.01(g) certificates. The term “confer” in Rule 3.01(g) requires a substantive conversation in
person or by telephone in a good faith effort to resolve the motion without court action and does
not envision an exchange of ultimatums by fax or letter. Counsel who merely “attempt” to confer
have not “conferred.” Counsel must respond promptly to inquiries and communications from
opposing counsel. Board of Governors of the Florida Bar, Ideals and Goals of Professionalism, ¶
6.10 and Creed of Professionalism ¶ 8 (adopted May 16, 1990), available at www.floridabar.org
(Professional Practice - Henry Latimer Center for Professionalism). The Court will deny motions
that fail to include an appropriate, complete Rule 3.01(g) certificate.

       B.      Extension of Deadlines

       The parties may not extend deadlines established in this Case Management and Scheduling
Order without the approval of the Court.

                1.      Dispositive Motions Deadline and Trial Not Extended – Motions to
extend the dispositive motions deadline or to continue the trial are generally denied. See Local
Rule 3.05(c)(2)(E). The Court will grant an exception only when necessary to prevent manifest
injustice. A motion for a continuance of the trial is subject to denial if it fails to comply with Local
Rule 3.09. The Court cannot extend a dispositive motion deadline to the eve of trial. In light of
the district court’s heavy felony trial calendar, at least 5 months are required before trial to receive
memoranda in opposition to a motion for summary judgment, and to research and resolve the
dispositive motion sufficiently in advance of trial.

              2.      Extensions of Other Deadlines Disfavored - Motions for an extension of
other deadlines established in this order, including motions for an extension of the discovery

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period, are disfavored. The deadline will not be extended absent a showing of good cause.
Fed.R.Civ.P. 16(b). Failure to complete discovery within the time established by this Order shall
not constitute cause for continuance. A motion to extend an established deadline normally will be
denied if the motion fails to recite that: 1) the additional discovery is necessary for specified
reasons; 2) all parties agree that the extension will not affect the dispositive motions deadline and
trial date; 3) all parties agree that any discovery conducted after the dispositive motions date
established in this Order will not be available for summary judgment purposes; and 4) no party
will use the granting of the extension in support of a motion to extend another date or deadline.
The movant must show that the failure to complete discovery is not the result of lack of diligence
in pursuing discovery. Local Rule 3.09(b).The filing of a motion for extension of time does not
toll the time for compliance with deadlines established by Rule or Order.

        C.      Motions to Compel and for Protective Order - Motions to compel and motions
for a protective order will be denied unless the motion fully complies with Local Rule 3.04,
requiring the motion to quote in full each interrogatory, question, or request; to quote in full
opposing party’s objection and grounds, or response which is asserted to be insufficient; and to
state the reasons the motion should be granted.

       D.      Motions to File Under Seal - Whether documents filed in a case may be filed
under seal is a separate issue from whether the parties may agree that produced documents are
confidential. Motions to file under seal are disfavored, and such motions will be denied unless they
comply with Local Rule 1.09.

        E.       Memoranda in Opposition - Each party opposing any written motion, shall file,
within fourteen days after being served with such motion, a legal memorandum with citation of
authorities in opposition to the relief requested. Local Rule 3.01(b). Where no memorandum in
opposition has been filed, the Court routinely grants the motion as unopposed. Motions titled as
“unopposed” or “agreed” normally come to the Court’s attention prior to the deadline for response.
If the parties are in agreement, counsel shall identify motions as “unopposed” or “agreed”.

        F.     Emergency Motions - The Court may consider and determine emergency motions
at any time. Local Rule 3.01(e). Counsel should be aware that the designation “emergency” may
cause a judge to abandon other pending matters in order to immediately address the “emergency.”
The Court will sanction any counsel or party who designates a motion as “emergency” under
circumstances that are not a true emergency. Id. It is not an emergency when counsel has delayed
discovery until the end of the discovery period. Promptly after filing an emergency motion, counsel
shall place a telephone call to the chambers of the presiding judge to notify the Court that an
emergency motion has been filed.

        G.      Page Limits - No party shall file a motion and supporting memorandum in excess
of twenty-five pages or a response in excess of twenty pages except by permission of the Court.
Local Rule 3.01(a), (b). A motion requesting leave to file either a motion in excess of twenty-five
pages, a response in excess of twenty pages, or a reply or further memorandum may not exceed
three pages, shall specify the length of the proposed filing, and shall not include, as an attachment
or otherwise, the proposed motion, response, reply, or other paper. Rule 3.01(d). Motions for relief
from page limitations are disfavored and will not be granted without a specific showing of good
cause.

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       H.      Motions for Summary Judgment

                1.     Required Materials - A motion for summary judgment shall specify the
material facts as to which the moving party contends there is no genuine issue for trial, and shall
be accompanied by a memorandum of law, affidavits and other evidence in the form required by
Federal Rule of Civil Procedure 56. The motion for summary judgment and supporting
memorandum of law shall be presented in a single document of not more than twenty-five pages.
Local Rule 3.01(a). Each party opposing a motion for summary judgment shall file and serve,
within fourteen (14) days after being served with such motion, a legal memorandum with citation
of authorities in opposition to the relief requested of not more than twenty (20) pages. Id. The
memorandum in opposition shall specify the material facts as to which the opposing party contends
there exists a genuine issue for trial, and shall be accompanied by affidavit(s) and other evidence
in the form required by Federal Rule of Civil Procedure 56. Both the movant and the party
opposing summary judgment shall provide pinpoint citations to the pages and lines of the record
supporting each material fact. General references to a deposition are inadequate. On or before the
date on which the memorandum in opposition is due, the parties SHALL also file a stipulation of
agreed material facts signed by the movant and the parties opposing summary judgment pursuant
to Local Rule 4.15. Material facts set forth in the stipulation will be deemed admitted for the
purposes of the motion. The Court will accept a ten (10) page reply. The reply shall be limited to
addressing issues raised by the opposing party that have not already been addressed in the motion.
The reply shall be filed within fourteen (14) days after the response is served.

                2.      Under Advisement - The Court takes a motion for summary judgment
under advisement no earlier than thirty (30) days from the date it is served, unless the Court
orders a different date. Unless specifically ordered, the Court will not hold a hearing on the motion.
Failure to oppose any motion for summary judgment may result in the entry of a judgment for the
movant without further proceedings. See Milburn v. United States, 734 F.2d 762, 765 (11th Cir.
1984); Griffith v. Wainwright, 772 F.2d 822, 825 (11th Cir. 1985) (per curiam); Fed. R. Civ. P.56
(e). All requirements in this Order apply to pro se litigants as well as to parties represented by
counsel.

        I.       Daubert and Markman Motions - On or before the date established in the above
table for the filing of motions for summary judgment, any party seeking a ruling pursuant to
Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579 (1993) (admissibility of expert opinions) or
pursuant to Markman v. Westview Instruments, Inc., 517 U.S. 370 (1996) (interpretation of a patent
claim) shall file an appropriate motion. The parties shall prepare a glossary of technical or scientific
terms where appropriate for the Court.

        J.      All Other Motions Including Motions In Limine - On or before the date
established in the above table, the parties shall file and serve all other motions including motions
in limine. Local Rule 3.01(g) applies, and the parties shall confer to define and limit the issues in
dispute.

III.   JOINT FINAL PRETRIAL STATEMENT




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       A.      Meeting In Person - On or before the date established in the above table, lead trial
counsel for all parties and any unrepresented parties shall meet together in person pursuant to
Local Rule 3.06(b) in a good faith effort to:

               1.      settle the case; the parties shall thoroughly and exhaustively discuss
settlement of the action before undertaking the extensive efforts needed to conduct final
preparation of the case for trial and to comply with the requirements of this order;

                2.      stipulate to as many facts and issues as possible; in order to assist the Court,
the parties shall make an active and substantial effort to stipulate at length and in detail as to agreed
facts and law, and to limit, narrow, and simplify the issues of fact and law that remain contested;
as a rule, parties who have complied with this requirement in good faith will file a Joint Final
Pretrial Statement listing far more agreed facts and principles of law than those that remain for
determination at trial;

                 3.      tag, mark, identify, examine, copy, and list all original trial exhibits
(including actual document exhibits) that any party will offer in evidence or otherwise tender to
any witness during trial [Local Rule 3.06(b)(3) and 3.07(a)]; and prepare and exchange a final
exhibit list on the Clerk’s approved form (attached to this order) bearing a description identifying
each exhibit and sponsoring witness [Local Rule 3.07(b)]; it is anticipated that counsel will agree
to the admission of the bulk of the opposing parties’ exhibits without objection and shall designate
on the exhibit list the exhibits which the Court may admit without objection at trial. Absent good
cause, the Court will not receive in evidence over objection any exhibits – including charts,
diagrams, and demonstrative evidence – not presented to opposing counsel or unrepresented
parties for inspection and copying at the required meeting or not listed in the joint final pretrial
statement. Photographs of sensitive exhibits (i.e., guns, drugs, valuables) and of non-documentary
evidence, and reductions of documentary exhibits larger than 8 ½” by 14” to be substituted for
original exhibits after conclusion of the trial must be presented to opposing counsel for
examination at the meeting to prepare the Joint Final Pretrial Statement. Objections to such
photographs or reductions of exhibits must be listed in the Joint Final Pretrial Statement. The
parties are advised that the design of certain courtrooms may preclude the use of large exhibits and
posters in a jury trial. The parties are directed to contact the trial judge’s courtroom deputy clerk
to discuss exhibits and equipment to be used during trial; and

                4.       exchange the names and addresses of all witnesses and state whether they
will likely be called.

        B.      The Joint Final Pretrial Statement

                1.      Form of Joint Final Pretrial Statement - On or before the date established
in the above table, the parties shall file a Joint Final Pretrial Statement that strictly conforms to the
requirements of Local Rule 3.06(c) and this Order. This case must be fully ready for trial at the
time that the Joint Final Pretrial Statement is due. Lead trial counsel for all parties, or the
parties themselves if unrepresented, shall sign the Joint Final Pretrial Statement. The Court will
strike pretrial statements that are unilateral, incompletely executed, or otherwise incomplete.
Inadequate stipulations of fact and law will be stricken. Sanctions may be imposed for failure to
comply, including the striking of pleadings. At the conclusion of the final pretrial conference, all

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pleadings are deemed to merge into the Joint Final Pretrial Statement, which will control the course
of the trial. Local Rule 3.06(e).

                2.      Exhibit List - The exhibit list filed in compliance with Local Rules
3.06(c)(4) and 3.07(b) must be on the Clerk’s approved form (attached to this order). Unlisted
exhibits will not be received into evidence at trial, except by order of the Court in the furtherance
of justice. See Local Rule 3.06(e). The Joint Final Pretrial Statement must attach each party’s
exhibit list on the approved form, listing each specific objection (“all objections reserved” does
not suffice) to each numbered exhibit that remains after full discussion and stipulation. Objections
not made – or not made with specificity – are waived.

                3.      Witness List - On the witness list required by Local Rule 3.06(c)(5), the
parties and counsel shall designate which witnesses will likely be called, and also designate which
witnesses may be called. Absent good cause, the Court will not permit, over objection, testimony
from unlisted witnesses at trial. This restriction does not apply to true rebuttal witnesses (i.e.,
witnesses whose testimony could not reasonably have been foreseen to be necessary). Records
custodians may be listed but will not likely be called at trial, except in the rare event that
authenticity or foundation is contested. For good cause shown in compelling circumstances, the
Court may permit presentation of testimony in open court by contemporaneous transmission from
a different location. FED. R. CIV. P. 43(a).

                 4.     Depositions - The Court encourages stipulations of fact to avoid calling
unnecessary witnesses. Where a stipulation will not suffice, the Court permits the use of
depositions. At the required meeting, counsel and unrepresented parties shall agree upon and
specify in writing in the Joint Final Pretrial Statement the pages and lines of each deposition
(except where used solely for impeachment) to be published to the trier of fact. The parties shall
include in the Joint Final Pretrial Statement a page-and-line description of any testimony that
remains in dispute after an active and substantial effort at resolution, together with argument and
authority for each party’s position. The parties shall prepare for submission and consideration at
the final pretrial conference or trial an edited and marked copy (as to the portion offered by each
party) of any deposition or deposition excerpt which is to be offered in evidence.

                5.       Joint Jury Instructions, Verdict Form, Voir Dire Questions - In cases
to be tried before a jury, the parties shall attach to the Joint Final Pretrial Statement a single jointly
proposed set of jury instructions in order of presentation to the jury, together with a single
jointly-proposed jury verdict form. Local Rule 5.01(c). The parties should be considerate of their
jury, and therefore should submit short, concise special verdict forms. The Court prefers pattern
jury instructions approved by the United States Court of Appeals for the Eleventh Circuit. A party
may include at the appropriate place in the single set of jointly-proposed jury instructions a
contested charge, so designated with the name of the requesting party and bearing at the bottom a
citation of authority for its inclusion, together with a summary of the opposing party’s objection.
The Court will deny outright a proposed instruction that is “slanted” in any way. Any
modifications to Eleventh Circuit standard jury instructions are disfavored and shall be
clearly marked and identified on the proposed jury instructions. The Court requires that
the parties e-mail a single set of jury instructions and verdict form, preferably in
WordPerfect® or Word format to the Chambers mailbox. The parties may include in the Joint


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Final Pretrial Statement a single list of jointly-proposed questions for the Court to ask the venire
during voir dire.

        C.       Coordination of Joint Final Pretrial Statement - All parties are responsible for
filing a Joint Final Pretrial Statement in full compliance with this order. Plaintiff’s counsel (or
plaintiff if all parties are proceeding pro se) shall have the primary responsibility to coordinate
compliance with the sections of this order that require a meeting of lead trial counsel and
unrepresented parties in person and the filing of a Joint Final Pretrial Statement and related
material. See Local Rule 3.10 (relating to failure to prosecute). If the plaintiff is proceeding pro
se, defense counsel shall coordinate compliance. If counsel is unable to coordinate such
compliance, counsel shall timely notify the Court by written motion or request for a status
conference.

       D.      Trial Briefs and Other Materials

               1.     Trial Briefs - In the case of a non-jury trial, on or before the date established
above, each party shall file and serve a trial brief with proposed findings of fact and conclusions
of law. The parties may file a trial brief on or before the same date in the case of a jury trial.

                 2.      Exhibit Notebook - On the first day of a jury trial the parties may provide
to the Court a bench notebook containing marked copies of all exhibits. On the first day of a non-
jury trial, the parties shall provide to the Court a bench notebook containing marked copies of all
exhibits. The parties may contact the courtroom deputy clerk for the trial judge to determine
whether this requirement may be waived.

IV.    MEDIATION

         A.      Purpose - To minimize costly pretrial procedures in a case that may be equitably
settled, and to secure the just, speedy, and inexpensive determination of this action, all parties shall
participate in good faith in mediation. See FED. R. CIV. P. 1; FED. R. CIV. P. 16(a)(5); Local Rules
1.01(b), 9.01(b). Parties who prefer mediation but have been designated for arbitration may file
and serve a joint motion seeking relief from arbitration.

        B.    The Mediator - This Court prefers to appoint the certified and approved mediator,
if any, chosen by the parties in their Case Management Report. If no such mediator has been
chosen, the Court designates the default mediator listed in the above table pursuant to Local Rule
9.04. The mediator shall conduct the mediation conference in the conference room of the
mediator’s law firm or office at a time and date selected by the mediator within the confines of
this order.

        C.     Last Date to Mediate - The parties shall complete the mediation conference on or
before the mediation date set forth earlier in the above table. Despite Local Rule 9.05(d), neither
the mediator nor the parties have authority to continue the mediation conference beyond
this date except on express order of the Court. In any Track Three case, complex case, or case
involving multiple parties, the mediator has the authority to conduct the mediation in a series of
sessions and in groups of parties so that mediation is complete by the last date to mediate.



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        D.      Mediator’s Authority - The mediator shall have all powers and authority to
 conduct a mediation and to settle this case as are described in Chapter Nine of the Local Rules,
 except as limited by this order. The mediation shall continue until adjourned by the mediator.
 In order to coordinate the mediation conference, the mediator may set an abbreviated scheduling
 conference prior to the scheduled mediation. At such time, the mediator may designate one or more
 coordinating attorneys who shall be responsible for conferring with the mediator regarding the
 mediation conference. If necessary, the coordinating attorney may coordinate the rescheduling of
 a mediation conference within the time allowed in this order.

        E.      General Rules Governing Mediation Conference

               1.      Case Summaries - Not less than two days prior to the mediation
 conference, each party shall deliver to the mediator a written summary of the facts and issues of
 the case.

                2.    Identification of Corporate Representative - As part of the written case
 summary, counsel for each corporate party shall state the name and general job description of the
 employee or agent who will attend and participate with full authority to settle on behalf of the
 corporate party.

                 3.       Attendance Requirements and Sanctions - Each attorney acting as lead
 trial counsel, and each party (and in the case of a corporate party, a corporate representative) with
 full authority to settle, shall attend and participate in the mediation conference in person. In the
 case of an insurance company, the term “full authority to settle” means authority to settle for the
 full value of the claim or policy limit. The Court will impose sanctions upon lead counsel and
 parties who do not attend and participate in good faith in the mediation conference.

               4.     Authority to Declare Impasse - Participants shall be prepared to spend as
 much time as may be necessary to settle the case. No participant may force the early conclusion of
 a mediation because of travel plans or other engagements. Only the mediator may declare an
 impasse or end the mediation.

                 5.     Restrictions on Offers to Compromise - Evidence of an offer to
 compromise a claim is not admissible to prove liability for or invalidity of the claim or its amount.
 Fed. R. Evid. 408 (includes evidence of conduct or statements made in compromise negotiations);
 Local Rule 9.07(b). All discussion, representations and statements made at the mediation
 conference are privileged settlement negotiations. Except in a supplemental proceeding to enforce
 a settlement agreement, nothing related to the mediation conference shall be admitted at trial or be
 subject to discovery. Fed. R. Evid. 408; Local Rule 9.07. A communication between a party and a
 mediator during a private caucus is also confidential, unless the party tells the mediator that it is
 not.

        F.      Compensation of Mediators - Absent agreement of the parties and the mediator,
 mediators shall be compensated at a reasonable hourly rate agreed to by the parties or provided by
 order of the Court, after consideration of the amount in controversy, the nature of the dispute, the
 resources of the parties, the prevailing market rate for mediators in the applicable market, the skill



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 and experience of the mediator, and other pertinent factors. Unless altered by order of the Court,
 the cost of the mediator's services shall be borne equally by the parties to the mediation conference.

         G.      Settlement and Report of Mediator - A settlement agreement reached between
 the parties shall be reduced to writing and signed by the parties and their attorneys in the presence
 of the mediator. See also Local Rule 9.06(b) and 3.08. Within seven days of the conclusion of
 the mediation conference, the mediator shall file and serve a written mediation report stating
 whether all required parties were present, whether the case settled, and whether the mediator was
 forced to declare an impasse. See Local Rule 9.06. The mediator may report any conduct of a party
 or counsel that falls short of a good faith effort to resolve the case by agreement or fails to comply
 with this Order. See Local Rule 9.05(e), 9.06(a).

 V.     FINAL PRETRIAL CONFERENCE

        A.      Lead Trial Counsel and Parties - If this order does not set a final pretrial
 conference date, the Court may later set a final pretrial conference on notice. Lead trial counsel
 and local counsel for each party, together with any unrepresented party, must attend the
 final pretrial conference in person unless previously excused by the Court. See Local Rule
 3.06(d); FED. R. CIV. P. 16(d).

          B.      Substance of Final Pretrial Conference - Since this case must be fully ready for
 trial at the time that the Joint Final Pretrial Statement is due, at the final pretrial conference, all
 counsel and parties must be prepared and authorized to accomplish the purposes set forth in FED.
 R. CIV. P. 16 and Local Rule 3.06, including formulating and simplifying the issues; eliminating
 frivolous claims and defenses; admitting facts and documents to avoid unnecessary proof;
 stipulating to the authenticity of documents; obtaining advance rulings from the Court on the
 admissibility of evidence; settling the dispute; disposing of pending motions; establishing a
 reasonable limit on the time allowed for presenting evidence; and such other matters as may
 facilitate the just, speedy, and inexpensive disposition of the action. See FED. R. CIV. P. 16(c)-(d).

 VI.      SANCTIONS - The Court will impose sanctions on any party or attorney: 1) who fails to
 attend and to participate actively in the meeting to prepare the Joint Pretrial Statement, or who
 refuses to sign and file the agreed document; 2) who fails to attend the Final Pretrial Conference,
 or who is substantially unprepared to participate; 3) who fails to attend the mediation and actively
 participate in good faith, or who attends the mediation without full authority to negotiate a
 settlement, or who is substantially unprepared to participate in the mediation; or 4) who otherwise
 fails to comply with this order. Sanctions may include but are not limited to an award of reasonable
 attorneys fees and costs, the striking of pleadings, the entry of default, the dismissal of the case,
 and a finding of contempt of court. See Fed. R. Civ. P. 16(f) and 37; Local Rules 9.05(c), (e); 28
 U.S.C. § 1927.

 VII.   TRIAL

         A.     Trial Before District Judge - A case scheduled for trial before a United States
 District Judge normally will be called for trial on the first day of the trial term indicated in the
 above table, or as soon after that date as is possible in light of the Court’s felony and civil trial



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 calendar.2 Cases not reached for trial in the month scheduled will be carried over to the following
 month on a trailing trial calendar, and issued subpoenas will continue in force. Counsel, parties,
 and witnesses shall be available on twenty-four hours notice for trial after the beginning of
 the trial term. A different District Judge or visiting judge may try the case. Local Rule 1.03(d).
 The case may be set for trial in the Orlando Division, Tampa Division, Fort Myers Division, Ocala
 Division, or Jacksonville Division of the Court. Local Rule 1.02(e). Absent a showing of good
 cause, any party whose turn it is to provide evidence will be deemed to have rested if, during the
 hours designated for trial, the party has no further evidence or witnesses available.

         B.       Trial Before a Magistrate Judge - A case scheduled for trial before a United
 States Magistrate Judge will be called for trial on a date certain. With respect to a civil case that
 remains pending before a District Judge as of the date of this order, the United States District
 Judges of the Middle District of Florida wish to afford the parties the opportunity to consent to
 proceed before a Magistrate Judge. Consent must be unanimous. A United States Magistrate Judge
 is available pursuant to 28 U.S.C. § 636(c) and Federal Rule of Civil Procedure 73(a) to conduct
 all further proceedings in this case (or specified motions in this case), to conduct a jury or non-
 jury trial beginning on a date certain, and to enter final judgment. A party may appeal a final
 judgment of a Magistrate Judge to the United States Court of Appeals for the Eleventh Circuit in
 the same manner as an appeal from the district court. 28 U.S.C. § 636(c)(3); Fed.R.Civ.P. 73. A
 party is free to withhold consent without adverse substantive consequences. 28 U.S.C. § 636 (c)(2);
 FED. R. CIV. P. 73(b). Consent forms are attached to this scheduling order. FED. R. CIV. P. 73(b);
 Local Rule 6.05.

          C.      Settlement - Counsel shall immediately notify the Court upon settlement of any
 case. Local Rule 3.08(a). The parties shall notify the Court of any settlement or other disposition
 of the case which will eliminate the need for a jury by 11:30 a.m. on the last business day before
 the date scheduled for jury selection. Failure to do so will subject each party to joint and several
 liability for jury costs. Regardless of the status of settlement negotiations, the parties shall appear
 for all scheduled hearings, including the Final Pretrial Conference and for trial absent the filing
 of a stipulation of dismissal signed by all parties who have appeared in the action (or notice of
 dismissal if prior to answer and motion for summary judgment). FED. R. CIV. P. 41(a).

          DONE AND ORDERED in Tampa, Florida, this 12th day of June, 2018.




 2 This case may be reassigned to a visiting District Judge at any time. In unusual and extraordinary circumstances, the

 Court may re-notice this case for trial shortly before the first day of the trial term if necessary to accommodate the trial
 schedule of the District Judge.

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 Attachments:           Exhibit List Form [mandatory form]
                        Magistrate Judge Consent / Entire Case
                        Magistrate Judge Consent / Specified Motions

 Copies to:             United States Magistrate Judge
                        All Counsel of Record
                        All Pro Se Parties
                        Law Clerk (trial judge)




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                                                         EXHIBIT LIST

                                 Government                    Plaintiff                  Defendant                  Court



                        Case No.
                        Style:


 Exhibit         Date                  Date Admitted Sponsoring                     Objections /                 Description of
 No.             Identified                                  Witnesses              Stipulated                   Exhibit
                                                                                    Admissions1




         1
         Use a code (e.g. “A” or “*”) in this column to identify exhibits to be received in evidence by agreement without objections.
Otherwise, specifically state each objection to each opposed exhibit. Please note that each date box on the left must be one inch wide
to accommodate the Clerk’s stamp.
        Case 8:18-cv-00937-CEH-JSS Document 18 Filed 06/12/18 Page 15 of 16 PageID 169
AO 85 (Rev. 01/09) Notice, Consent, and Reference of a Civil Action to a Magistrate Judge



                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                               Middle District of Florida

                    DEBORAH VANHORN                                             )
                                 Plaintiff                                      )
                v.                                                              )     Civil Action No.      8:18-cv-937-T-36JSS
CENTENE MANAGEMENT COMPANY, LLC, et al.                                         )
                               Defendants                                       )


           NOTICE, CONSENT, AND REFERENCE OF A CIVIL ACTION TO A MAGISTRATE JUDGE


        Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct all
proceedings in this civil action (including a jury or nonjury trial) and to order the entry of a final judgment. The judgment may
then be appealed directly to the United States court of appeals like any other judgment of this court. A magistrate judge may
exercise this authority only if all parties voluntarily consent.

        You may consent to have your case referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who may
otherwise be involved with your case.

       Consent to a magistrate judge’s authority. The following parties consent to have a United States magistrate judge
conduct all proceedings in this case including trial, the entry of final judgment, and all post-trial proceedings.

              Parties’ printed names                                   Signatures of parties or attorneys                      Dates




                                                                    Reference Order
        IT IS ORDERED: This case is referred to a United States magistrate judge to conduct all proceedings and
order the entry of a final judgment in accordance with 28 U.S.C. § 636(c) and Fed. R. Civ. P. 73.


Date:
                                                                                                  District Judge’s signature




                                                                                                    Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
        Case 8:18-cv-00937-CEH-JSS Document 18 Filed 06/12/18 Page 16 of 16 PageID 170
AO 85A (Rev. 01/09) Notice, Consent, and Reference of a Dispositive Motion to a Magistrate Judge


                                       UNITED STATES DISTRICT COURT
                                                                          for the
                                                             Middle District of Florida

                   DEBORAH VANHORN                                             )
                               Plaintiff                                       )
                v.                                                             )       Civil Action No. 8:18-cv-937-T-36JSS
CENTENE MANAGEMENT COMPANY, LLC, et al.                                        )
                             Defendants                                        )

    NOTICE, CONSENT, AND REFERENCE OF A DISPOSITIVE MOTION TO A MAGISTRATE JUDGE

         Notice of a magistrate judge’s availability. A United States magistrate judge of this court is available to conduct
all proceedings and enter a final order dispositive of each motion. A magistrate judge may exercise this authority only if
all parties voluntarily consent.

        You may consent to have motions referred to a magistrate judge, or you may withhold your consent without
adverse substantive consequences. The name of any party withholding consent will not be revealed to any judge who
may otherwise be involved with your case.

           Consent to a magistrate judge’s consideration of a dispositive motion. The following parties consent to have a
United States magistrate judge conduct any and all proceedings and enter a final order as to each motion identified below
(identify each motion by document number and title).


                  Motions:




            Parties’ printed names                                  Signatures of parties or attorneys                         Dates




                                                                   Reference Order

         IT IS ORDERED: The motions are referred to a United States magistrate judge to conduct all proceedings and
enter a final order on the motions identified above in accordance with 28 U.S.C. § 636(c).

Date:
                                                                                                     District Judge’s signature


                                                                                                      Printed name and title


Note: Return this form to the clerk of court only if you are consenting to the exercise of jurisdiction by a United States
magistrate judge. Do not return this form to a judge.
